 SO ORDERED.
 SIGNED 28th day of January, 2025



 THIS ORDER HAS BEEN ENTERED ON THE DOCKET.                       Charles M. Walker
 PLEASE SEE DOCKET FOR ENTRY DATE.                                U.S. Bankruptcy Judge




                       IN THE UNITED STATTES BANKRUPTCY COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

 IN RE:                                    )
                                           )                     Case No: 3:19-bk-07235
 Cummings Manookian, PLLC,                 )                     Chapter 7
                                           )                     Honorable Charles M. Walker
             Debtor.                       )
 __________________________________________)

                        ORDER SCHEDULING STATUS CONFERENCE

          THIS MATTER is before the Court to discuss the status of further administration and

 future pleadings in this case.

          IT IS HEREBY ORDERED that:

    (1) A scheduling conference and status hearing is set for Wednesday, March 5, 2025, at

          11:00 a.m., Courtroom 2, Second Floor, Customs House, 701 Broadway, Nashville,

          Tennessee.

    (2) All parties and/or counsel may appear in person or virtually via Zoom. Please refer to the

          Court’s website for instructions to register to appear virtually.

    (3) Failure to appear and participate in the scheduling conference may result in litigation

          sanctions in the form of a waiver of any objection to or continuance of the established

          administration dates and deadlines related hereto.

                           THIS ORDER WAS SIGNED AND ENTERED ELECTRONICALLY AS
                                   INDICATED AT THE TOP OF THE FIRST PAGE




Case 3:19-bk-07235         Doc 228     Filed 01/28/25 Entered 01/28/25 15:42:23           Desc Main
                                      Document      Page 1 of 1
